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                                UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA                       )
                                                )
                       v.                       )     Criminal No. 18-10325-DJC
                                                )
 KIMBERLY KITTS,                                )
           Defendant.                           )


                     ORDER OF FORFEITURE (MONEY JUDGMENT)

CASPER, D.J.

        WHEREAS, on September 18, 2018, the United States Attorney for the District of

Massachusetts filed a six-count Information, charging defendant Kimberly Kitts (the “Defendant”)

with Investment Adviser Fraud, in violation of 15 U.S.C. § 80b-6 (Count One); Wire Fraud, in

violation of 18 U.S.C. § 1343 (Counts Two through Five); and Aggravated Identity Theft, in

violation of 18 U.S.C. § 1028A (Count Six);

        WHEREAS, the Information also included a forfeiture allegation, pursuant to 18 U.S.C

§ 981(a)(1)(C) and 28 U.S.C. § 2461(c) which provided notice that the United States intended to

seek the forfeiture, upon conviction of the Defendant of one or more of the offenses alleged in

Counts Two through Five of the Information, of any property, real or personal, that constitutes, or

is derived from, proceeds traceable to the commission of the offenses, including but not limited to

the sum of at least $3,085,939, which represents the approximate proceeds that defendant obtained

as a result of offenses;

        WHEREAS, the Information further provided that, if any of the above-described forfeitable

property, as a result of any act or omission by the Defendant, (a) cannot be located upon the

exercise of due diligence; (b) has been transferred or sold to, or deposited with, a third party; (c)

has been placed beyond the jurisdiction of the Court; (d) has been substantially diminished in
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value; or (e) has been commingled with other property which cannot be divided without difficulty,

the United States is entitled to seek forfeiture of any other property of the Defendant, up to the

value of such assets, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c);

         WHEREAS, on November 19, 2018, at a hearing pursuant to Rule 11 of the Federal Rules

of Criminal Procedure, the Defendant pled guilty to Counts One through Six of the Information;

         WHEREAS, during the hearing, the United States gave a recitation of the facts, referenced

the Properties being forfeited, and how the money judgment amount constitutes proceeds traceable

to the commission of the offenses, and the Defendant did not object;

         WHEREAS, based on the Defendant’s guilty plea on November 19, 2018, the United States

is entitled to an Order of Forfeiture consisting of a personal money judgment against the

Defendant, in the amount of $3,085,939 in United States currency, pursuant to 18 U.S.C.

§ 981(a)(1)(C) and 28 U.S.C. § 2461(c);

         WHEREAS, the amount of $3,085,939 in United States currency constitutes proceeds that

the Defendant obtained as a result of violations of 15 U.S.C. § 80b-6, and 18 U.S.C. §§ 1343 and

1028A; and

         WHEREAS, Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure provides that Ano

ancillary proceeding is required to the extent that the forfeiture consists of a money judgment.@

         ACCORDINGLY, it is hereby ORDERED, ADJUDGED, and DECREED:

         1.     The Defendant, shall forfeit to the United States the sum of $3,085,939 in United

States currency, pursuant to 18 U.S.C § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

         2.     This Court shall retain jurisdiction in the case for the purpose of enforcing this

Order.

         3.     The United States may, at any time, move pursuant to Rule 32.2(e) of the Federal



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Rules of Criminal Procedure to amend this Order to substitute property having a value not to

exceed the amount set forth in Paragraph 1 to satisfy the money judgment in whole or in part.

         4.    The United States may, at any time, conduct pursuant to Rule 32.2(b)(3) of the

Federal Rules of Criminal Procedure and 21 U.S.C. § 853(m), as incorporated by 28 U.S.C.

2461(c), any discovery to identify, locate or dispose of forfeitable property or substitute assets,

including, but not limited to, depositions and requests for documents, electronically stored

information, and tangible things.

         5.    Pursuant to Rule 32.2(b)(4), this Order shall be included in the sentence pronounced

and imposed by the Court at the sentencing hearing, and in the criminal judgment entered by this

Court against the Defendant.




                                                     DENISE J. CASPER
                                                     United States District Judge

Dated:




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